         Case 1:20-cv-00765-PGG Document 27 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TIANHAI LACE USA, INC.,

                        Plaintiff,
                                                                       ORDER
                -against-
                                                                  20 Civ. 765 (PGG)
 G-III LEATHER FASHIONS, INC.,

                        Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               The conference currently scheduled for October 22, 2020 at 10:30 a.m. will take

place by telephone.

               The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone conference by

dialing the same number and using the same access code. The Court is holding multiple

telephone conferences on this date. The parties should call in at the scheduled time and wait on

the line for their case to be called. At that time, the Court will un-mute the parties’ lines. By

5:00 p.m. on October 21, 2020, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       October 21, 2020
